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Exhibit L
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Tuesday, July 5, 2016 at 8:13:42 PM Eastern Daylight Time

Subject: Re: Itinerary for your upcoming trip
Date: Tuesday, December 3, 2013 at 9:56:26 AM Eastern Standard Time
From: Grewal, Gurbir (USANJ)

To: Adam Ford
cc: Grippo, Nicholas (USANJ)
Ok

Sent from my iPhone

On Dec 3, 2013, at 9:53 AM, "Adam Ford" <aford@harrisobrien.com<mailto:aford@harrisobrien.com>> wrote:

Gurbir and Nick,

| thought | forwarded to you Mr. Gentile’s itinerary for a short trip to the Bahamas, but now | don’t see it in my sent
box. Mr. Gentile was planning on traveling to the Bahamas with his wife tomorrow through Friday. As always, he will

be available for anything you might need.

—Adam

Harris, O'Brien, St. Laurent & Chaudhry LLP

111 Broadway, Suite 1502

New York, NY 10006

direct: (917) 512-6937
aford@harrisobrien.com<mailto:aford@harrisobrien.com>

Begin forwarded message:

From: Guy Gentile <guygentile76@gmail.com<mailto:guygentile76@gmail.com>>
Subject: Fwd: Itinerary for your upcoming trip

Date: November 27, 2013 at 8:50:53 PM EST

To: Adam Ford <aford@harrisobrien.com<mailto:aford@harrisobrien.com>>

Sent from my iPhone
Begin forwarded message:

From: JetBlue Reservations <reservations@jetblue.com<mailto:reservations@jetblue.com>>

Date: November 27, 2013 at 8:39:14 PM EST

To:

karen@stockusainc.com<mailto:karen@stockusainc.com>, <guygentile76@gmail.com<mailto:guygentile76@gmail.c
om>>

Subject: Itinerary for your upcoming trip

 

 

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[JetBlue] <http://www.jetblue.com/> You're set to jet.

Your confirmation number is IJSUGTX
Scan this barcode to check in at any JetBlue kiosk = [IJUGTX]

[Flight status] <http://www.jetblue.com/flightstatus/?source=emitin_flightstatus>

[Change/cancel] <http://myflights.jetblue.com/B6.myb/> [Manage

flights] <http://myflights.jetblue.com/B6.myb/> [Seats] <http://myflights.jetblue.com/B6.myb/>
[Baggage info] <http://www.jetblue.com/flying-on-jetblue/first-bag-free/>

[http://www.jetblue.com/email/img/svt/ems promo _1.png]<http://www.jetblue.com/flying-on-jetblue/even-
more/>

Your confirmation number is IJUGTX
Scan the barcode at the top of this page to check in at any JetBlue kiosk.

[http://www.jetblue.com/email/img/svt/itinerary_top.png]
Your itinerary [http://www.jetblue.com/email/img/svt/itinerary_box.png]

Date Departs/
arrives Route Flight/
operated by Travelers Frequent Flyer1 Seats2 Terminal

Wed,
Dec 04 8:47 a.m.
11:51.a.m. NEW YORK CITY, NY (JFK) to
NASSAU, BAHAMAS (NAS) 421
[B6] GuyGentile B6
2065481626
[http://www.jetblue.com/email/img/svt/ems_seat.png]
3A *

5
Karen N Gentile N/A
[http://www.jetblue.com/email/img/svt/ems_seat.png]
3c *

Fri,
Dec 06 12:47 p.m.
3:44 p.m. NASSAU, BAHAMAS (NAS) to
NEW YORK CITY, NY (JFK) 422
[B6] GuyGentile B6
2065481626
[http://www.jetblue.com/email/img/svt/ems_seat.png]
3A*

Cc
Karen N Gentile N/A
[http://www.jetblue.com/email/img/svt/ems_seat.png]
3c*

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For a detailed receipt, select a customer

Ticket number(s)

Guy Gentile <https://www.virtuallythere.com/new/eticketPrint.html?

pnr=EB8HGK93NLPJ&pcc=R917 &aaaCity=NIH&language=0&name=GENTILE&host=B6&ETNBR1=2792102900712&ET
STC1=null&ETDTE1=2 7NOV&ETISS1=NIHSSSW&ETIOT=1&SCOS=false&action=printEticket> 2792102900712
Karen N Gentile <https://www.virtuallythere.com/new/eticketPrint.html?

pnr=EB8HGK93NLPJ&pcc=R917 &aaaCity=NIH&language=0O&name=GENTILE&host=B6&ETNBR1=2792102900713&ET
STC1=null&ETDTE1=2 7NOV&ETISS1=NIH5SSW&ETTOT=1&SCOS=false&action=printEticket> 2792102900713

regarding change and cancel policies.

* Even More Space seat

1 To provide a frequent flier number please call 1-800-JETBLUE (538-2583)

2 Seats requests on other airlines are not guaranteed until confirmed by the operating carrier.

[http://www.jetblue.com/email/img/svt/carbonfund.jpg] <http://www.carbonfund.org/>

Reduce what you can
offset what you can't <http://www.carbonfund.org/>

We're working to protect and preserve the environment. By choosing to offset your travel, you too are making a
pledge to protect the environment. <http://www.carbonfund.org/>

[Allianz] <http://www.etravelprotection.com/jbancillaryemail>
Travel insurance <http://www.etravelprotection.com/jbancillaryemail>

For Allianz Global Assistance flight insurance inquiries, please call 1-800-496-0329.
<http://www.etravelprotection.com/jbancillaryemail>

card/jal-eml-ips>

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card/jal-eml-ips>
After you spend $1,000 with your Card in your first 3 months of Cardmembership. Apply now.

eml-ips>

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Special Internet Rate Price Match Guarantee3, no Change or Cancel fee4, no phone fee and TripAdvisor® customer
reviews. <http://hotels.jetblue.com/templates/233124?showOptions=false&mdpcid=233124.hp.hot.nav.lp>

[GroundLink] <http://limos.jetblue.com/jetblue/lux-car-service.html>
Your driver is here <http://limos.jetblue.com/jetblue/lux-car-service.html>

Guaranteed on-time car service providing easy, reliable ground transportation for travelers worldwide. Book your
ride now. <http://limos.jetblue.com/jetblue/lux-car-service.html>

[http://www.jetblue.com/email/img/svt/fb.jpg] <http://www.facebook.com/JetBlue>
[http://www.jetblue.com/email/img/svt/twitter.jpg] <http://twitter.com/jetblue> [http://www.jetblue.com/emai

I/img/svt/youtube.jpg] <http://www.youtube.com/jetblue>

 

 

[http://www.jetblue.com/email/img/svt/bluetails.jpg] <http://blog.jetblue.com/>  BlueTales Blog

[http://www.jetblue.com/email/img/svt/jb_mobile.jpg] <http://www.jetblue.com/mobile> Same smart app.
More smartphones. <http://www.jetblue.com/mobile>
Download the JetBlue mobile app for iPhone
and Android now! <http://www.jetblue.com/mobile>

Help <http://www.jetblue.com/help/?intcmp=hd help> Corporate Travel <http://www.jetblue.com/corporate/?

intcmp=ft corporate> — Privacy <http://www.jetblue.com/legal/privacy/?intcmp=ft_privacy> About JetBlue
<http://www.jetblue.com/about/?intcmp=ft_aboutus>

TDIRECTV® and XM Radio® services are not available outside the continental U.S.; however, where applicable, movies
from JetBlue Features™ are offered complimentary on these routes.

1. Welcome bonus offer not available to applicants who have had this product or a Crlewmember JetBlue Card

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account within the last 12 months. You can earn 20,000 TrueBlue points after you spend $1,000 on eligible purchases
in your first three months of Cardmembership following the time of Card account opening. Eligible purchases are
purchases of goods or services minus returns and credits, and do NOT include: fees or interest charges, balance
transfers, cash advances, purchases of travelers checks, purchases or reloading of prepaid cards, or purchases of cash
equivalents. TrueBlue points will be credited to your JetBlue TrueBlue Program account 6 to 8 weeks after the spend
requirement has been reached. This offer is not valid for existing JetBlue Cardmembers. You are eligible to receive
points for only one Card account. Additional Cardmembers are not eligible.

2. Price Match Guarantee: If you find the same hotel and dates of stay at a lower rate,

property has independent penalties for changes/cancellations. See full hotel details and descriptions for details.

4. *Advertised rates are based on trips between airports and downtown metropolitan area locations in an economy
class vehicle. Rates do not include additional charges that may be applicable, such as charges for tolls, extra stops,
parking fees, telephone usage, pets, extra in-car bags, car seats, waiting time, or custom requests. Rates include local
and state taxes and fees, except in NY, NJ, and CT; passengers in these states are responsible for taxes and fees
(including, in NY, a 2% NYC workmen’s compensation charge and 8.875% state and local sales taxes). Rates include
gratuity, except in NY, NJ, and CT; passengers traveling in these states are encouraged to provide appropriate gratuity
based on the service received. Economy pricing may not be available at all times during the day or during certain
weather conditions. Advertised rates only apply for bookings made online at

CUSTOMER CONCERNS

Any customer inquiries or concerns can be addressed here,<http://www.jetblue.com/help/contactus/> emailed to
dearjetblue@jetblue.com<mailto:dearjetblue@jetblue.com>, or sent to JetBlue Airways, 6322 South 3000 East, Suite
G10, Salt Lake City, UT 84121.

NOTICE OF INCORPORATED TERMS

All travel on JetBlue, whether it is domestic or international travel, is subject to JetBlue's Contract of Carriage, the
terms of which are incorporated herein by reference. International travel may also be subject to JetBlue's
international passenger rules tariffs on file with the U.S. and other governments, and, where applicable, the
Montreal Convention or the Warsaw Convention and its amendments and special contracts. Incorporated terms
include, but are not restricted to:

NOTICE OF INCREASED GOVERNMENT TAX OR FEE
JetBlue reserves the right to collect additional payment after a fare has been paid in full and tickets issued for any
additional government taxes or fees assessed or imposed.

1. Liability limitations for baggage, including special rules for fragile and perishable goods and the availability of

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excess valuation.

2. Liability limitations for personal injury or death.

3. Claims restrictions, including time periods within which passengers must file a claim or bring an action against
JetBlue.

4. Rights of JetBlue to change the terms of contract.

5. Rules on reservations, check-in, and refusal to carry.

6. JetBlue's rights and limits on its liability for delay or failure to perform service, including schedule changes,
substitution of aircraft or alternate air carriers, and rerouting.

7. Non-refundability of reservations.

8. The Contract of Carriage and tariffs may be inspected at all JetBlue airport customer service counters, and upon
request you have the right to receive by mail a copy of the full text of the Contract of Carriage or tariffs. Additional
information on items one through seven can be obtained on JetBlue's website at
www.JetBlue.com<hittp://www.jetblue.com/about/legal/legal.asp?source=emitin coc> or at any U.S. location where
JetBlue transportation is sold.

CARRY-ON BAGGAGE RULES

JetBlue flights - Each customer may bring one bag that fits in the overhead bin plus one personal item (purse,
briefcase, laptop, etc.) that fits under the seat in front free of charge. Any excess carry-on baggage will be checked
baggage. Visit http://www.jetblue.com/bags and http://www.tsa.gov<http://www.tsa.gov/> for more information.
Connecting on our partner airlines (including Cape Air) — The carry-on rules of a partner airline apply when checking
in to a JetBlue flight that is connecting to the partner. See http://www.jetblue.com/partners for more

information. While JetBlue may allow additional carry-ons as a courtesy to customers connecting to our partner
airline, JetBlue cannot guarantee that those bags will be accepted for in-cabin travel on the partner. Customers are
encouraged to abide by partner’s rules for their entire journey to avoid additional checked baggage fees if their carry-
ons do not meet size/weight restrictions.

CHECKED BAGGAGE ALLOWANCE/FEES

Domestic JetBlue flights - JetBlue allows one free checked bag, subject to size/weight restrictions. For flights booked
on or after February 3, 2012 a $40.00 fee applies to a second checked bag ($35.00 for flights booked before February
3, 2012), subject to size/weight restrictions. A $75 fee applies for a third checked bag. Other fees apply for additional
International JetBlue flights - JetBlue allows one free checked bag, subject to size/weight restrictions. For flights
booked on or after February 3, 2012 a $40.00 fee applies to a second checked bag ($35.00 for flights booked before
February 3, 2012). Excess baggage rules and size/weight restrictions may vary depending on load availability and
partner airlines (excluding Cape Air*) — Baggage rules and fees vary by partner airline and destination. JetBlue will
follow our partner airlines' fees when customers are traveling on an itinerary including one of our partner airlines.
Excess baggage rules and size/weight restrictions may vary depending on load availability. See
http://www.jetblue.com/partners for more information.

*For itineraries with a connection only to/from Cape Air, JetBlue's standard fees apply.

CHECK-IN TIMES

For domestic flights, customers traveling without checked baggage must obtain a boarding pass twenty (20) minutes
prior to scheduled departure and customers traveling with checked baggage must obtain a boarding pass thirty
minutes prior to scheduled departure. Customers must be present in the boarding gate are fifteen (15) minutes prior

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to scheduled departure or the posted aircraft departure time. For international flights, customers traveling with or
without checked bags must obtain a boarding pass sixty (60) minutes prior to scheduled departure. Customers must
be present in the boarding gate twenty (20) minutes prior to scheduled departure or the posted aircraft departure
time.

DOCUMENTATION REQUIREMENTS

For domestic travel, customers over the age of 18 will be required to show a U.S. federal or state-issued photo ID that
contains the following information: name, date of birth, gender, expiration date and a tamper-resistant feature.
Customers traveling to/from an international destination are required to present proper documentation at the time
of check-in. Documents required for travel vary according to citizenship, residency, country of travel, age (for minors),
length of stay, purpose of visit, student status, etc. Please check for specific requirements for the country, or
countries, you are visiting to make sure you have the correct documents. In addition, Customers traveling to a
country other than their country of citizenship or residency are required to hold proof of return or onward travel.
Failure to present proper documentation could result in denied boarding.

ADVICE TO INTERNATIONAL PASSENGERS ON LIMITATION OF LIABILITY

Where a passenger's journey involves an ultimate destination or a stop in a country other than the country of
departure, either the Warsaw Convention and the Hague Protocol, their amendments, and any special contracts of
carriage embodied in applicable tariffs that waive Warsaw/Hague limits, or the Montreal Convention may apply to
the entire journey including the portion within the countries of departure or destination and, in some cases, may
limit the liability of the carrier for death or personal injury, delay, and for loss of or damage to baggage. The Montreal
Convention, where applicable, does not impose, and special contracts voluntarily entered into by many carriers,
including JetBlue, waive, the Warsaw/Hague limitations for compensatory damages arising out of personal injury or
wrongful death caused by an accident, as defined by the applicable treaty. The names of carriers party to the special
contracts are available at all ticket offices of such carriers and may be examined upon request.

NOTICE OF BAGGAGE LIABILITY LIMITS

For international transportation (including domestic portions) governed by the Montreal Convention, JetBlue's
liability for baggage is limited to 1,131 SDRs (see, http://www.imf.org<http://www.imf.org/> for current value) per
passenger unless a higher value is declared and an extra charge is paid. For international transportation governed by
the Warsaw Convention and the Hague Protocol and their amendments, JetBlue's liability for baggage is limited to
$9.07 per pound for checked baggage and $400 per passenger for unchecked baggage unless a higher value is
declared and an extra charge is paid. Special rules may apply to valuable articles. For domestic transportation,
JetBlue's liability for baggage is limited to $3,300 per passenger. General baggage rules: As set forth more fully in its
Contract of Carriage and international passenger rules tariffs, JetBlue will not be responsible for fragile or perishable
goods. JetBlue assumes no liability for oversized, overweight or overpacked baggage, or for loss of or damage to
baggage parts such as wheels, straps, pockets, pull handles, zippers, hanger hooks or other items attached to
baggage. JetBlue will not be responsible for the following items in checked or unchecked baggage: money, jewelry
including watches, cameras, camcorders, any type of electronic equipment, including computers, valuable papers or
documents and other similar items as described in more detail in the Contract of Carriage.

NOTICE OF OVERBOOKING OF FLIGHTS

Although JetBlue does not intentionally overbook its flights, there is a slight chance that a seat will not be available
on a flight for which a person has a confirmed reservation. If the flight is overbooked, no one will be denied a seat
until airline personnel first ask for volunteers willing to give up their reservation in exchange for compensation of the
airline's choosing. If there are not enough volunteers, JetBlue will deny boarding to other persons in accordance with

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its particular boarding priority. With few exceptions, including failure to comply with JetBlue's check-in deadline
(which are available upon request from JetBlue), persons denied boarding involuntarily are entitled to compensation.
The complete rules for the payment of compensation and JetBlue's boarding priorities are available at all airport
ticket counters and boarding locations. Some airlines do not apply these consumer protections to travel from some
foreign countries, although other consumer protections may be available. Check with your airline or your travel

agent.

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